    Case 2:21-mj-00028-JHR Document 2 Filed 02/04/21 Page 1 of 3                  PageID #: 12




                                  SYNOPSIS – COMPLAINT

                                     U.S. v. Kyle Fitzsimons
                                 Case No. 2:21-mj-00028-JHR
                         (Case No. 1:21-mj-00190 in originating district)


Name:                                      Kyle Fitzsimons

Address:                                   Lebanon, Maine
(City & State Only)

Year of Birth and Age:                     1983 (37 years old)

Violations:                                Count 1:          Knowingly entering or remaining in a
                                                             restricted building or grounds without
                                                             lawful authority.
                                                             18 U.S.C. § 1752(a)(4)

                                           Count 2:          Violent entry and disorderly conduct
                                                             on U.S. Capitol Grounds.
                                                             40 U.S.C. § 5104(e)(2)(F)

                                           Count 3:          Assault on a federal officer.
                                                             18 U.S.C. § 111(a)(1)

                                           Count 4:          Attempt to obstruct law enforcement
                                                             during a civil disorder.
                                                             18 U.S.C. § 231(a)(3)

                                           Count 1:          Class A misdemeanor. Not more than
                                                             1 year imprisonment, and/or not more
                                                             than a $100,000 fine.
                                                             18 U.S.C. § 1752(b)(2)

                                           Count 2:          Class B misdemeanor. Not more than 6
                                                             months imprisonment, and/or not more
                                                             than a $5,000 fine.
                                                             40 U.S.C. § 5109(b)

                                           Count 3:          Class D felony. Not more than 8 years
                                                             imprisonment, and/or not more than a
                                                             $250,000 fine.
                                                             18 U.S.C. § 111(a)
    Case 2:21-mj-00028-JHR Document 2 Filed 02/04/21 Page 2 of 3            PageID #: 13




                                        Count 4:        Class D felony. Not more than 5 years
                                                        imprisonment, and/or not more than a
                                                        $250,000 fine.
                                                        18 U.S.C. § 231(a)

Supervised Release:                     Count 1:        1 year.
                                                        18 U.S.C. § 3583(b)(3)

                                        Count 2:        N/A.

                                        Counts 3, 4:    3 years.
                                                        18 U.S.C. § 3583(b)(2)

Maximum Term of Imprisonment for        Count 1:        Not more than 1 year.
Violation of Supervised Release:                        18 U.S.C. § 3583(e)(3).

                                        Count 2:        N/A.

                                        Counts 3, 4:    Not more than 2 years.
                                                        18 U.S.C. § 3583(e)(3).

Maximum Additional Term of              Count 1:        1 year, less any term of imprisonment
Supervised Release for Violation of                     imposed upon revocation.
Supervised Release:                                     18 U.S.C. § 3583(h)

                                        Count 2:        N/A

                                        Counts 3, 4:    3 years, less any term of imprisonment
                                                        imposed upon revocation.
                                                        18 U.S.C. § 3583(h)

Defendant’s Attorney:                   TBD

Primary Investigative Agency and Case   FBI
Agent Name:                             TFO Kyle A. Kassa

Detention Status:                       Defendant was arrested on February 4, 2021. Detention
                                        motion to be filed.

Foreign National:                       No

Foreign Consular Notification Provided: N/A

County:                                 N/A (District of Columbia)
   Case 2:21-mj-00028-JHR Document 2 Filed 02/04/21 Page 3 of 3           PageID #: 14




AUSA:                                 Craig M. Wolff

Guidelines apply? Y/N                 Yes

Victim Case:                          Yes

Corporate Victims Owed Restitution:   N/A

Assessments:                          Count 1:         $25.
                                                       18 U.S.C. § 3013(a)(1)(A)(iii)

                                      Count 2:         $10.
                                                       18 U.S.C. § 3013(a)(1)(A)(ii)

                                      Counts 3, 4:     $100 per count.
                                                       18 U.S.C. § 3013(a)(2)(A)
